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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:88-cr-01007-MP-AK

WILLIE BUD REED, JR,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 1067, Defendant's Motion for Reconsideration of

Doc. 1046, Order denying Defendant's motion for return of property, pursuant to Rule 60(b) of

the Federal Rules of Civil Procedure. Having reviewed the above document, the Court finds no

reason to reconsider its previous order. Defendant addresses no new issues, facts, or arguments

in his motion. Instead, Defendant simply rehashes his previous arguments. Defendant has not

presented a valid reason why this Court's previous judgment should be vacated. Accordingly, for

the reasons stated in the previous order (Doc. 1046) denying his motion for return of property,

Defendant's motion to reconsider is DENIED.

       DONE AND ORDERED this            23rd day of December, 2005


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
